         Case 1:04-cv-10981-PBS Document 1697 Filed 03/05/09 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

---------------------------------------------------------------x
                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Bulger v. Pfizer Inc., et al., 07-CV-11426-PBS                 :
                                                               :
Smith v. Pfizer Inc., et al., 05-CV-11515-PBS                  :
                                                               :
---------------------------------------------------------------x

                  DECLARATION OF KENNETH B. FROMSON, ESQ. IN
               SUPPORT OF PRODUCTS LIABILITY PLAINTIFFS’ REPLY
              TO DEFENDANTS OPPOSITION TO PLAINTIFFS’ MOTION TO
              EXCLUDE THE TESTIMONY OF SHEILA WEISS SMITH, Ph.D.

        I, Kenneth B. Fromson, declare under penalty of perjury as follows:

        1.       I am a partner with the law firm of Finkelstein & Partners, LLP, attorneys for the

majority of the Products Liability Plaintiffs in this matter, including Plaintiffs Bulger and Smith

in the above-entitled individual actions.

        2.       This declaration is submitted in support of Products Liability Plaintiffs’ Reply to

Defendants’ opposition to Plaintiffs’ motion, pursuant to the standards of expert evidence

enunciated in Daubert and its progeny and Rule 702 of the Federal Rules of Evidence, for an

Order excluding the testimony of Defendants’ expert witness Sheila Weiss Smith, Ph.D.

        3.       The following documents are attached hereto in further support of this motion:

        Exhibit A - E-mail from Manfred Hauben dated 4/25/04

        Exhibit B - Excerpts from the December 22, 2008 Deposition of Dr. Weiss Smith
        Case 1:04-cv-10981-PBS Document 1697 Filed 03/05/09 Page 2 of 2




       Exhibit C - 21 C.F.R. 201.57(e) (04/01/2006)

       Exhibit D - FDA Alert dated February 19, 2009, for the Psoriasis drug Raptiva

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 5, 2009

                                                     /s/ Kenneth B. Fromson
                                                     Kenneth B. Fromson
                                                     Finkelstein & Partners, LLP
                                                     1279 Route 300, P.O. Box 1111
                                                     Newburgh, NY 12551
                                                     (800) 634-1212

                                                     Attorneys for Plaintiffs Bulger and Smith


                                CERTIFICATE OF SERVICE

      I certify that this document filed through the ECF system has been served pursuant to
Case Management Order No. 3 on March 5, 2009.

Dated: March 5, 2009

                                                      /s/ Kenneth B. Fromson
                                                     Kenneth B. Fromson




                                                 2
